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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 1:20-cv-23787

  WILLIAM H. CLAFLIN, IV; et al.,

            Plaintiffs,

            vs.

  LAFARGEHOLCIM LTD; et al.,

            Defendants.


                           PLAINTIFFS’ STATUS REPORT REGARDING
                            SERVICE UPON FOREIGN DEFENDANTS

            Plaintiffs, through their undersigned counsel, and pursuant to the Court’s May 26, 2021

  Order (D.E. 39), respectfully submit their Status Report Regarding Service Upon Foreign

  Defendants.

            On September 11, 2020, Plaintiffs filed their Complaint against LafargeHolcim Ltd

  (“LafargeHolcim,” now known as Holcim Ltd); Inversiones Ibersuizas S.A.; Holcim Trading SA

  (F/K/A) Union Maritima Internacional SA; de Ruiter Ouderlande B.V.; Las Pailas de Cemento

  S.A.U. (collectively, “Foreign Defendants”); and Unknown Subsidiary of the LafargeHolcim

  Group.1 Because the Foreign Defendants are organized under the laws of countries that are

  signatories to the Hague Convention on the Service Abroad of Judicial and Extrajudicial

  Documents In Civil or Commercial Matters (“Hague Convention”), service must be made upon

  them pursuant to the Hague Convention. Plaintiffs’ vendor, TransPerfect Legal Solutions, has

  translated the summonses and the Complaint into the Foreign Defendants’ languages, and has


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      Defendant Unknown Subsidiary of the LafargeHolcim Group’s location is not known at this time.
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  initiated Hague Convention service upon the Foreign Defendants through TransPerfect’s foreign

  partner(s).

         Service has been made on Defendant LafargeHolcim. See Proof of Service Affidavit

  Regarding Defendant LafargeHolcim Ltd (D.E. 26).

         The process of serving the remaining foreign defendants under the Hague Convention

  remains underway and to the best of Plaintiffs’ knowledge and the knowledge of their foreign

  service vendor TransPerfect, service upon the Foreign Defendants has not yet been completed.

         As the Court is aware Plaintiffs and LafargeHolcim have reached an agreement in

  principle to settle this action in its entirety. See Joint Stipulation and Proposed Order Regarding

  Stay and Tolling of Deadlines (May 21, 2021) (D.E. 38).             Plaintiffs and LafargeHolcim

  requested that the Court stay and toll all deadlines for all parties pending consummation of a

  definitive settlement agreement or upon further order of the court. Id.

         By Paperless Order dated May 27, 2021 (D.E. 40), the Court granted in part and denied in

  part the Parties’ Joint Stipulation and (i) Ordered the Parties to file a notice of settlement on or

  before June 28, 2021; and (ii) if the parties fail to complete the expected settlement by June 28,

  2021, ordered LafargeHolcim to file a response to the Complaint on or before July 12, 2021.

         The Parties are working diligently to consummate their settlement agreement and expect

  that the agreement will be completed on or before June 28, 2021.

                                                    Respectfully submitted,

                                                   ROIG, TUTAN, ROSENBERG, MARTIN
                                                   & BELLIDO, P.A

                                             By: /s/ Nelson C. Bellido
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                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 1, 2021, a true and correct copy of the foregoing was
  electronically filed with the Clerk of Court using CM/ECF. Copies of the foregoing document will be
  served upon counsel of record via transmission of Notices of Electronic Filing generated by
  CM/ECF.


                                                   By: /s/Nelson C. Bellido
                                                       Nelson C. Bellido




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